      Case 2:19-cv-10635-ILRL-JVM Document 97-11 Filed 10/09/20 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA


 BYRON TAYLOR, TERRAINE R.
 DENNIS, KENNETH HUNTER,
 KENDALL MATTHEWS, and LONNIE                    CASE NO. 2:19-cv-10635-ILRL-JVW
 TREAUDO, on Behalf of Himself and on
 Behalf of All Others Similarly Situated,        JUDGE IVAN L.R. LEMELLE

       Plaintiffs,                               MAG. JANIS VAN MEERVEED

 V.

 HD AND ASSOCIATES, LLC, and JOHN
 DAVILLIER

       Defendants.


                                  NOTICE OF SUBMISSION

        PLEASE TAKE NOTICE THAT Plaintiffs, Byron Taylor, Teraine R. Dennis, Kenneth

Hunter, Kendall Matthews, and Lonnie Treaudo, on behalf of themselves and other persons

similarly situated, will submit for consideration their Motion for Partial Summary Judgment

Regarding Employment Status before the Honorable Ivan L.R. Lemelle of the United States

District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana

on October 28, 2020 at 9:00 AM.

                                            Respectfully Submitted:

                                            /s/ Ryan P. Monsour
                                            __________________________________________
                                            PRESTON L. HAYES (#29898)
                                            RYAN P. MONSOUR (#33286)
                                            HMS Law Firm
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                                CERTIFICATE OF SERVICE

       I certify that I have served a copy of the above and foregoing pleading using this Court’s

CM/ECF system to counsel of record participating in the CM/ECF system, or by email

transmission on this 9th day of October, 2020.

                                             /s/ Ryan P. Monsour
                                             __________________________________________
                                             RYAN P. MONSOUR
